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 6

 7
                            UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA

 9
      UNITED AFRICAN-ASIAN                    Case No: '23CV2352 CAB MMP
10    ABILITIES CLUB, ON BEHALF
11
      OF ITSELF AND ITS                       COMPLAINT
      MEMBERS; JAMES LEE, An
12    Individual                              DISCRIMINATORY
13                                            PRACTICES
                          Plaintiffs,         [US Fair Housing Act of 1988 [42
14
                                              U.S.C. §§ 3600 et seq, §3604(c),
15          v.                                §3604(f)(1-3), et seq.; CA
                                              Government Code 12925, 12927,
16
      5550 BALBOA ARMS LLC; AND               12955; CA Civil Code §§ 51, 52,
17    DOES 1 THROUGH 10, Inclusive            54.3
18
                          Defendants.         DEMAND FOR JURY TRIAL
19

20
                                        INTRODUCTION
21
     1.    Plaintiffs make the following allegations in this civil rights action:
22                              JURISDICTION AND VENUE
23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
25
     apartment property consist of four (4) or more residential units), and 42 U.S.C. §
26
     12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
27
     United States District Court for the Southern District of California pursuant to 28
28

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 1
     U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
 2
     Judicial District.
 3
                              SUPPLEMENTAL JURISDICTION
 4
     3.      This United States District Court for the Southern District of California has
 5
     supplemental jurisdiction over the California state claims as alleged in this
 6
     Complaint pursuant to 28 U.S.C. § 1367(a).
 7
                   NAMED DEFENDANTS AND NAMED PLAINTIFFS
 8
     4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
 9
     entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
10
     Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
11
     Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
12
     Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
13
     to as the “named Plaintiffs” or “Plaintiffs”.
14
     5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
15
     good standing as a Nevada corporation. The named individual Plaintiff LEE is a
16
     member of the Plaintiff Club organization.
17
     6. Plaintiffs are informed, believe, and thereon allege that named Defendant 5550
18
     BALBOA ARMS LLC and is the operator of the apartment rental business known as
19
     Pacific Sands Apartments located at 5550 Balboa Arms Dr, San Diego, CA 92117.
20
     Plaintiffs are informed, believe, and thereon allege that Defendant 5550 BALBOA
21

22
     ARMS LLC, is the owner, operator, and/or lessor of the real property located at 5550

23
     Balboa Arms Dr, San Diego, CA 92117 (hereinafter referred to as the “Property”).

24
     7.     Defendant 5550 BALBOA ARMS LLC, is, and at all times mentioned herein

25
     were, a business or corporation or franchise, organized and existing and/or doing

26
     business under the laws of the State of California. Defendants Does 1 through 10,

27
     were at all times relevant herein subsidiaries, employers, employees, and/or agents of

28

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 1
     the named Defendants.
 2
                                  CONCISE SET OF FACTS
 3
     8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
 4
     for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
 5
     Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
 6
     dates wherein he intended to go the Defendant’s Property to access Defendants’
 7
     rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
 8
     and communication barriers at Defendants’ Property. Plaintiff Lee determined that
 9
     the open and obvious physical barriers that exist at Defendants’ Property directly
10
     related to his disabilities, and that it would be impossible or extremely difficult for
11
     him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
12
     Lee had knowledge of access barriers at the Property and determined that it would be
13
     futile gesture for him to go to the Property on the date that he had intended. The
14
     named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
15
     and communication barriers that exist at Defendants’ Property and also Defendants’
16
     website communication barriers. As used herein, website means any internet website
17
     where Defendants control the content. Exhibit B states the websites controlled by
18

19
     Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

20
     Defendants websites but experienced great difficulty due to Defendants’ failure to

21
     provide accessible website features.

22
     9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

23
     access Defendants’ online rental services, but had great difficulty due to his

24
     disabilities. The named Individual Plaintiff Lee also could not determine from

25
     Defendants’ website content whether Defendants’ rental services at the property or
26   off the property, and common areas at the property were physically accessible to
27   him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
28

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 1
     obtain information regarding the physical accessibility of Defendants’ rental services
 2
     at the property and off-site. In response to the named Individual Plaintiff’s request,
 3
     Plaintiff Club sent one of its members to Defendants’ property. The named
 4
     Individual Plaintiff personally reviewed all the information and photographs of
 5
     Defendants’ property. As a result, the named Individual Plaintiff has actual
 6
     knowledge of the overt and obvious physical and communication barriers to
 7
     Defendants rental service at Defendants’ Property. The named Individual Plaintiff
 8
     determined that the open and obvious physical barriers that exist at Defendants’
 9
     Property directly related to his disabilities, and that it would be impossible or
10
     extremely difficult for him to physically access Defendants’ on-site rental services.
11
     See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
12
     that it would be futile gesture for him to go to the Property on the date that he had
13
     intended. The named Individual Plaintiff was deterred by his actual knowledge of
14
     the physical and communication barriers that exist at Defendants’ Property and
15
     website. The named Individual Plaintiff made a written request to Defendants’ for
16
     an accommodation to have equal access to Defendants’ rental services and to
17

18
     eliminate the communication and physical barriers to Defendants’ rental services,

19
     both online and at the property. At the end of this action, the named Individual

20
     Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

21
     obtain rental information and verify that the communication and physical barriers to

22
     Defendants’ rental services are removed.

23
     10.   The named Plaintiff Club is an organization that advocates on the behalf of its

24
     members with disabilities when their civil rights and liberties have been violated.

25
     Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

26
     Property in December, 2023. The named Plaintiffs investigated Defendants

27
     apartment property and Defendants websites. Plaintiff Club member Sharon Riguer

28

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 1
     investigated the Property on the Internet websites. Additional Plaintiff Club
 2
     members investigated Defendants websites and found that they did not provide equal
 3
     access. The results of the research from Club Member Sharon Riguer are contained
 4
     in the Exhibit B to this Complaint. Club members ascertained that Defendants’
 5
     rental services at Defendants Property were not physically accessible to Plaintiff Lee
 6
     by a Club member with a disability who went to Defendants’ apartment Property,
 7
     and said Club member attempted to access Defendants’ on-site rental services.
 8
     11.   Plaintiff Club diverted its time and resources from its normal purposes
 9
     because of Defendants’ service, policy, program and physical barriers to Defendants
10
     rental services at Defendants’ websites and Property. Club personnel conducted
11
     detailed Internet searches to determine if Defendants provide large print, deaf
12
     interpreter, therapy animal, the required reasonable accommodation policy, and
13
     required reasonable modification policy. Further, the Club retained contractors to
14
     investigate said policies, to survey the property, to photograph the property, to
15
     investigate when the Property was constructed, to investigate the Property ownership
16
     and to have an access report prepared. Plaintiff Club also diverted staff to
17
     investigate Defendants' Internet presence to determine compliance with the FHA and
18
     ADA. Plaintiff Club also investigated Defendants' written rental materials such as
19
     brochures, rental applications and leases. Moreover, Plaintiff Club made an oral
20
     investigation to ascertain Defendants' companion animal, deaf interpreter and
21

22
     reasonable accommodation and reasonable modification policies. Plaintiff Club also

23
     caused a physical access consultant to be retained to survey Defendants' facility.

24
     Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

25
     incorporated into an Access Report. The Access Report also details the known overt

26
     and obvious physical access violations at the Property, but it is not intended as an

27
     exhaustive list of existing violations. Due to these necessary activities to investigate,

28

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 1
     Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
 2
     Club suffered injury and also suffered monetary damages due to the diversion of the
 3
     Club’s resources from its normal purposes.
 4
     12.   Plaintiffs allege that Defendants control, operate, and maintain website at
 5
     https://www.pacificsandssd.com/ where Defendants offer its rental services.
 6
     Additionally, Defendants provide rental services located at the Property.
 7
     13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
 8
     physical site rental services because the websites refer to Defendants’ rental services
 9
     that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
10
     Plaintiffs allege that the websites are also places of public accommodation.
11
     Defendants control the websites to the extent that Defendants can change the website
12
     content to make modifications to comply with the FHA and ADA. Therefore,
13
     Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
14
     improve access for Plaintiffs and people with disabilities.
15
     14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
16
     TTY number or the text messaging system for Plaintiffs and other people that are
17
     deaf or people with speech conditions. Plaintiff Club members have a speech
18
     disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
19
     websites to eliminate non-readable text to allow the blind and people with low vision
20
     to use the screen reader software to access the information on the website, yet they
21

22
     also failed to use large print on their websites. See Exhibit B to this Complaint.

23
     Plaintiffs assert that most popular screen reader programs are called Jobs Access

24
     With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

25
     discriminate against Plaintiff Club, specifically Club members who have low vision

26
     disabilities. Each of the Club members above cannot use the websites controlled by

27
     the Defendants. Modifications to Defendants’ websites will not fundamentally alter

28

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 1
     the rental services provided and will also not cause an undue burden to Defendants,
 2
     because the cost is less than One Thousand Dollars ($1,000).
 3
     15.   On December 3, 2023, and on a second subsequent date, Plaintiff Club
 4
     attempted to make a request to the Defendants for reasonable accommodation at the
 5
     property. On December 24, 2023, the named individual Plaintiff LEE and Plaintiff
 6
     Club emailed to the Defendants a written request for a reasonable accommodation.
 7
     In December, 2023, Plaintiff LEE and Plaintiff Club, mailed a written request for a
 8
     reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
 9
     for reasonable accommodation as of the date of the filing of this Civil Complaint.
10
     16.   Plaintiffs are not able to access Defendants rental services due to existing
11
     overt and obvious communication and physical barriers to access Defendants’ rental
12
     services both at its online website and at the property. Due to the overt and obvious
13
     physical barriers as alleged herein below, which are required to be removed,
14
     Plaintiffs requested that Defendants accommodate them to provide access to
15
     Defendants’ rental services.
16
     17.   The named Plaintiffs allege that an accommodation is also obvious when a
17
     whole group of the protected persons requires it. For example, when the public
18
     without disabilities are required to get up to a second level, the public would be very
19
     disturbed if they were required to request steps to go up to second level. When the
20
     accommodation is specific to a particular person with a disability, then that person
21

22
     may be required to make a request, because the accommodation is not obvious.

23
     18.   Plaintiffs allege that they are not required to make a request for reasonable

24
     accommodation and for auxiliary aids when the barriers to communication are overt

25
     and obvious. However, in the present case, Plaintiffs did make such requests for

26
     accommodation to eliminate overt and obvious barriers to its rental services

27
     communications. Plaintiffs allege that providing effective contact information for

28

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 1
     Defendants’ rental services on the internet is an obvious accommodation. The
 2
     general public does not need to request a contact number from the Defendant
 3
     apartment owner or operator when they desire to rent a place. Defendants provide the
 4
     contact number on their website. Therefore, Plaintiffs allege that Defendants are
 5
     required to provide the obvious accommodation of effective communication for
 6
     people that are deaf or with speech impediment on their website without a request.
 7
     Defendants must make their rental services accessible without the need for a prior
 8
     request. Furthermore, Defendants have a duty to remove architectural barriers and
 9
     communication barriers to their rental services without request.
10
     19. Plaintiffs allege that there is disparate treatment on the internet related to the
11
     amenities being offered to people without disabilities and people with disabilities.
12
     All the below facts and the facts stated elsewhere herein have a disparate impact on
13
     the disability community. The named Plaintiffs experienced and have knowledge of
14
     the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
15
     operates an apartment property. The property is located at 5550 Balboa Arms Dr,
16
     San Diego, CA 92117. The property was built in 1970 and has 2 stories with 95
17
     units. The rent is approximately: $2,675 - $3,250. The internet provides a wealth of
18
     information regarding the property. The internet advertises that the property has
19
     amenities that include: 24-Hour Onsite Laundry, Bike Racks, Courtyard, Outdoor
20
     Lounge and BBQ Grill Area, Vinyl Windows, Stainless Steel Appliance - Some
21

22
     Homes, 24-hour Laundry Center, Private Patios 1, 2, and 3 Bedroom Apartments For

23
     Rent, Ceiling Fans and Air Conditioning, Large Private Patio, Online Work Order,

24
     Payments, and Leasing, Outdoor Lounge, Sparkling Swimming Pool, Stainless Steel

25
     Appliances, Community Organic Fruit Orchard, Gas BBQ, Italian Porcelain Tile

26
     Floors, Pet Friendly Community, Resident App, Air Conditioning - Call for details,

27
     24 Hour Laundry Facility, Maple Cabinetry, Updated Kitchens - Granite or Quartz

28

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 1
     Countertops, Ceiling Fan, Reserved Parking, Air Conditioning, Organic Community
 2
     Fruit Orchard, Controlled Access, Public Transportation, Lounge, Fitness Center,
 3
     Pool, Bicycle Storage, Gated, Courtyard, Grill, High Speed Internet Access, Air
 4
     Conditioning, Ceiling Fans, Smoke Free, Disposal, Stainless Steel Appliances,
 5
     Microwave, Oven, Refrigerator, Carpet, Tile Floors, Window Coverings, Patio,
 6
     Application Fee $38, Lease Options 9, 10, 11, 12, Dogs Allowed Pet Limit 2, No
 7
     weight limit for pets. Cats Allowed Pet Limit 2, No weight limit for pets, 1 space
 8
     Assigned Parking. The property advertises on https://www.pacificsandssd.com/,
 9
     rentcafe.com, westsiderentals.com, yelp.com, rent.com, apartmentguide.com. It is
10
     very important to know that on https://www.pacificsandssd.com/, rentcafe.com,
11
     westsiderentals.com, rent.com, apartmentguide.com there is the equal housing
12
     opportunity logo. The plaintiff alleges that there is disparate treatment on the internet
13
     related to the amenities being offered to people without disabilities and people with
14
     disabilities. For example, the tow signage was not installed. The accessible parking
15
     space had an access aisle, which was not van accessible. The aisle did not have the
16
     “no parking” included in the access aisle. The office had a high threshold. There was
17
     no International Symbol of Accessibility signage. The Internet does not state the
18
     accessible amenities at all. Also, the statement the “equal housing opportunity
19
     statement” is misleading. In fact, the property is not completely accessible. All the
20
     above facts and the facts stated herein have a disparate impact on the disability
21

22
     community.

23
     20.   On Defendants’ websites, they allow the public without deafness and without

24
     speech impairments to participate by providing them with a telephone number to
25   call. However, Plaintiff Club members that are deaf and or with speech impairments
26   are denied equal access to participate because the Defendants do not have any
27   effective communication.
28

                      9
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  1
      21.   Defendants provide websites for people without disabilities to benefit from the
  2
      rental services without going to the apartments to learn about the properties.
  3
      However, for people with disabilities that require the access to the facility, the
  4
      Defendants do not provide any information on the websites regarding if the rental
  5
      services located both on or off the property are accessible. Moreover, the Defendants
  6
      provide the telephone number for the public to call to inquire about the rental
  7
      services without providing any effective alternative communications for Plaintiffs
  8
      and other people that are deaf or have speech impairments.
  9
      22.   For people without disabilities, the Defendants provide all of the information
 10
      on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
 11
      the Property to determine if it is accessible, then require them to request the effective
 12
      communication, and then thereafter to request a reasonable accommodation to the
 13
      overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
 14
      and other people with disabilities to suffer a separate benefit.
 15
      23.   Additionally, the named Plaintiffs are alleging photograph discrimination
 16
      related to the physical access of each of the apartments within Exhibit B to this
 17

 18
      complaint. The purpose of Defendants’ internet photographs is to entice perspective

 19
      renters to apply online or to contact the Defendants to rent a place. Defendants’

 20
      internet photographs only entice people without mobility disabilities. Defendants’

 21
      internet photographs exclude any photographs of any accessible features that would

 22
      aid the Plaintiffs. For example, there is no photograph of accessible parking. There

 23
      are no photographs of the accessible route to the rental services both on or off the

 24
      property. There are photographs of the accessible route to the rental services. There
 25   are no photographs related to the access to get into and use the rental services. There
 26   are no photographs related to the accessible route of the common area. There are no
 27   photographs of the accessible units. In fact, all the photographs lead a person with a
 28

                       10
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  1
      mobility disability to believe that the apartments are not accessible, or that they must
  2
      have someone go to the properties to make sure it is accessible. However, people
  3
      without disabilities are not required to go to the Property to see if it is accessible.
  4
      24.   Defendants websites and Defendants’ rental services are not integrated for
  5
      people with disabilities as required. Plaintiffs are required to request an
  6
      accommodation. People without disabilities can access the websites and the rental
  7
      services without any problem, but Plaintiffs and other people with disabilities are
  8
      required to request for separate rental services. People with mobility conditions are
  9
      not integrated when using the websites because they must go to the apartments to
 10
      determine if they are accessible, but people without disabilities need only access
 11
      Defendants’ websites to determine they can use them. People that are blind and with
 12
      low vision disabilities must request help to read the website information because the
 13
      printed information is too small, but people without disabilities can access the
 14
      websites without asking for help. Plaintiffs and other people with deafness or people
 15
      with speech condition must ask for help calling the number on the websites, because
 16
      Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
 17

 18
      texting system. Defendants discriminated against the Plaintiffs.
      25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
 19
      in December, 2023, and on a second subsequent date, to access the rental services.
 20
      The Named Individual Plaintiff has actual knowledge of Defendants’ overt and
 21
      obvious physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’
 22
      Property on-site rental services that this Named Individual Plaintiff intended to visit
 23
      in December, 2023, and on a second subsequent date, but this Plaintiff was deterred
 24
      from accessing Defendant’s rental services located on the Property. Defendants
 25
      provide rental information, rental applications, and other rental services on-site at the
 26
      Property. Defendants’ agents confirmed to the Plaintiffs that rental information,
 27

 28

                       11
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  1
      rental applications, and other rental services were available on-site at the Property.
  2
      Defendants’ rental services at the Property are not accessible. Defendants’ path of
  3
      travel from the sidewalk to the rental services is not accessible since it has excessive
  4
      slopes without handrails and step changes in level along the path. There is an
  5
      excessive and steep slope without handrails that must be traversed to access the main
  6
      gated entrance door leading into the complex. The main gated entrance door leading
  7
      into the complex fails to have the required smooth and uninterrupted surface at the
  8
      bottom of the door. Defendant’s callbox is located too high to be accessible. There
  9
      is an excessive and steep slope without handrails that must be traversed to access
 10
      Defendant’s rental services entrance door. Defendants do not provide the required
 11
      directional signage as to the designated path of travel from the sidewalk to
 12
      Defendant’s rental services. Defendant’s rental services entrance door fails to have
 13
      the required smooth and level landing of sufficient dimensions. Defendant’s rental
 14
      services entrance is not accessible due to a significant step change in level at the
 15
      rental services door threshold that is not beveled or ramped. Defendant’s rental
 16
      services entrance door fails to have the required smooth and uninterrupted surface at
 17
      the bottom of the door. Additionally, Defendant’s rental services entry door
 18
      operating hardware is a round knob. The operable parts of the doorbell at
 19
      Defendant’s rental services entrance door is mounted too high. The document drop
 20
      slot is obstructed and inaccessible. The Named Individual Plaintiff has mobility
 21
      disabilities and these step changes in level, excessive slopes, and the other stated
 22
      issues cause the path of travel and the rental services entry to be not accessible.
 23
      Defendants failed to provide any directional signage indicating an alternate
 24
      accessible path of travel to the rental services. Defendants failed to provide the
 25
      required fully compliant van accessible disabled parking for the rental services.
 26
      Defendants failed to provide a dimensionally compliant van accessible disabled
 27
      parking space and disabled parking access aisle, the required disabled parking
 28

                       12
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  1
      signage, including tow away signage, fine signage, ground markings, and failed to
  2
      locate said parking on a level surface and nearest the rental services. Defendants
  3
      also failed to provide compliant tow away signage. The Named Individual Plaintiff
  4
      requires the use of a compliant van accessible disabled parking space to safely exit
  5
      and re-enter the vehicle. Defendants’ failure to provide the required compliant
  6
      disabled parking, disabled parking access aisle, disabled parking disability signage,
  7
      access aisle, and disability ground markings, such that the Named Individual Plaintiff
  8
      is not able to safely park at Defendants’ establishment since the individual Plaintiff
  9
      may be precluded from exiting or re-entering the vehicle if the disabled parking and
 10
      disabled parking signage is not present and others park improperly. Additionally,
 11
      Defendants failed to provide the required accessible path of travel from the parking
 12
      area to the rental services since the existing path of travel has step changes in level
 13
      and slopes that exceed the maximum permitted. Additionally, Defendants overt and
 14
      obvious communication barriers were also present at the rental services in
 15
      December, 2023, and on a second subsequent date. Defendants failed to provide any
 16
      method of text communication with their rental services and failed to publish any
 17
      information as to how to initiate text communication contact. The Named Individual
 18
      Plaintiff had actual knowledge of these barriers at Defendants’ Property that Plaintiff
 19
      intended to visit, and the Named Individual Plaintiff was deterred from accessing
 20
      Defendants’ rental services at the Property again in December, 2023. See Property
 21
      photos in Exhibit B and Exhibit C.
 22
      26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
 23
      Defendants’ rental services at Defendants’ property and Defendants’ websites are
 24
      fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
 25
      other people with disabilities. Plaintiff Club, its Club members, and the named
 26
      Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
 27
      conditions, and they are currently deterred from attempting further access until the
 28

                       13
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  1
      barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
  2
      return to Defendants’ Property and Defendants websites at the end of this action to
  3
      obtain rental services, and to verify that the communication and architectural barriers
  4
      are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
  5
      Club has numerous members residing near Defendants Property. Plaintiff Club’s
  6
      members have actual knowledge of the discriminatory conditions as alleged herein
  7
      when the Plaintiff Club investigated the Property and the rental services and
  8
      determined that the Club members would not be able to use the rental services due to
  9
      the discriminatory conditions. Therefore, Plaintiff Club members were and are
 10
      deterred from visiting the properties. Plaintiff Members were not required to
 11
      actually visit the properties. See Civil Rights Education & Enforcement Center v.
 12
      Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
 13
      Plaintiff Cub did visit and attempt to access Defendants’ rental services at
 14
      Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans
 15
      to visit at the conclusion of this case to obtain rental information and to verify the
 16
      Defendants ceased its discriminatory conduct by removing communication and
 17

 18
      physical barriers to access to the rental services.

 19

 20
       DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –

 21
      FAIR HOUSING ACT CLAIMS
      27.   FHA Standing:
 22
            Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 23
      complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
 24
      3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
 25
      named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
 26
      named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
 27

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  1
      other relief as hereinafter stated. The Federal Fair Housing Act applies to
  2
      Defendants’ apartment complex since it has more than 4 residential units. FHA
  3
      standing is substantially broader than standing under the ADA due to the critically
  4
      important need of adequate availability of housing for the disabled. A potential
  5
      plaintiff is not even required to have an interest in renting a particular property or
  6
      dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
  7
      F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
  8
      claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
  9
      whether or not the target of the discrimination, can sue to recover for his or her own
 10
      injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
 11
      34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
 12
      actually been denied to persons protected under the Act.” San Pedro Hotel v City of
 13
      Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
 14
      Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
 15
      and that the named Plaintiffs suffered monetary and other damages as a result. The
 16
      named Plaintiffs seek injunctive relief as well as damages, both of which are
 17
      available under 42 USC § 3613(c). Assuming arguendo in the present case, that
 18
      prospective injunctive relief was not available to Plaintiffs due to mootness or
 19
      otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
 20
      damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
 21
      Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
 22
      Thousand (3000) miles away and her injunctive claims became moot. However,
 23
      Plaintiff’s claim for damages survived and was not affected]. In the present case,
 24
      while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
 25
      above Ninth Circuit Harris court authority makes it clear that those prudential
 26
      standing requirements for injunctive relief are not applicable to Plaintiffs FHA
 27
      damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
 28

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  1
      prospective injunctive relief is not available. The present Plaintiff Club has
  2
      organization standing separately on its own under the FHA. Additionally, under the
  3
      FHA, Plaintiff Club has associational standing to assert its Club member claims
  4
      since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
  5
      Club and the named Individual Plaintiff have standing with respect to the following
  6
      FHA claims.
  7

  8
      CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
  9
      Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
 10
      Train Staff, And Failure To Make The Policy Known To The Plaintiffs
 11
      28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 12
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 13
      this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
 14
      rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
 15
      because of a handicap of (A) that buyer or renter; (B) a person residing in or
 16
      intending to reside in that dwelling after it is so sold, rented, or made available; or…
 17
      §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
 18
      v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
 19
      scheme permits disparate impact claims, and those type of claims do not require
 20
      intent]. due to Defendants’ communication and architectural barriers, Defendants
 21
      discriminated against Plaintiffs by failing to have a policy, practice, or method for
 22
      Plaintiffs to make a reasonable accommodation request for equal access to their
 23
      rental services on their website or at their Property. Defendants have an affirmative
 24
      duty to have a policy, process to receive such accommodation requests and to
 25
      respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
 26
      2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
 27

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                                                                                  COMPLAINT
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  1
      discrimination.
  2

  3
      CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
  4
      Housing Act And California Fair Employment And Housing Act
  5
      29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  6
      complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  7
      section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
  8
      engage in a good-faith interactive process to determine and to implement effective
  9
      reasonable accommodations so that Plaintiffs could gain equal access Defendants’
 10
      rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
 11
      services both on or off the property and apartments.
 12
      CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
 13
      30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 14
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 15
      this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
 16
      discriminate against any person in the terms, conditions, or privileges of sale or
 17
      rental of a dwelling, or in the provision of services or facilities in connection with
 18
      such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
 19
      above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
 20
      prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
 21
      named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
 22
      services located on the Property or off-site are “services” in connection with the
 23
      rental of a dwelling and the on-site or off-site rental services provided fall within the
 24
      FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
 25
      failure to remove communication and architectural barriers to permit access to
 26
      Defendant’s on-site rental services contained is a separate, independent, actionable
 27
      violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
 28

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  1
      predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
  2
      physical barriers to access its rental services provided at the property. See ¶¶25 -26.
  3
      The 9th Circuit Smith court stated that the mere observation of overt architectural
  4
      barriers is actionable. Smith at 1104 [“To read an additional standing requirement
  5
      into the statute beyond mere observation, however, ignores that many overtly
  6
      discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  7
      disabled individual from forming the requisite intent or actual interest in renting or
  8
      buying for the very reason that architectural barriers prevent them from viewing the
  9
      whole property in the first instance” (emphasis in original)]. The Smith court found
 10
      Defendants liable under this FHA subsection even though that case did not involve
 11
      ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
 12
      observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
 13
      Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
 14
      had actual knowledge of Defendants’ communication and architectural barriers and
 15
      Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
 16
      services located thereon. Defendants also discriminated against Plaintiffs by failing
 17
      to modify its practices and policies to provide access via other methods of access to
 18
      its rental services located on or off the property site. Defendant’s failure to remove
 19
      the architectural and communication barriers to access its facilities and the rental
 20
      services located thereon, or failure to provide an accommodation to provide methods
 21
      of alternate access to their rental services, constitutes the prohibited discrimination,
 22
      separately and independently. Additionally, Defendant’s conduct is also prohibited
 23
      under ADA Title III and constitutes a second, separate, independent source of
 24
      discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
 25
      discriminatory conduct involves Defendants’ rental facilities and its rental services
 26
      located therein, Plaintiffs assert any discriminatory conduct found in violation of
 27
      ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
 28

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                                                                                   COMPLAINT
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  1
      CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
  2
      31.   Plaintiffs do not make any claim against Defendants for a failure to “design
  3
      and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
  4
      above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
  5
      Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
  6
      that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  7
      to make reasonable accommodations in rules, policies, practices, or services, when
  8
      such accommodations may be necessary to afford such person equal opportunity to
  9
      use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
 10
      Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
 11
      repeated written and other requests for an accommodation to have equal access to its
 12
      rental services.
 13
      CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
 14
      32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
 15
      elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
 16
      the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
 17
      respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
 18
      Defendants discriminated against them when Defendants made, printed, or
 19

 20
      published, or caused to be made printed, or published notices, statements, or

 21
      advertisements (“NSA”) that suggest to an ordinary reader a preference to attract

 22
      tenants without disabilities. Defendants' Internet advertising regarding its rental

 23
      services has an unlawful disparate impact on Plaintiffs.

 24
      SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
 25
      33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
 26

 27
      Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and

 28

                         19
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  1
      elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
  2
      reasonable accommodations in rules, policies, practices, or services in violation of
  3
      CA Government Code sections 12927 and 12955.2, when these accommodations
  4
      may be necessary to afford a disabled person equal opportunity to use and enjoy
  5
      Defendants’ rental services. As stated in detail above, Defendants refused to make
  6
      reasonable accommodations with the instant Plaintiffs and discriminated against each
  7
      of them on the basis of disability.
  8

  9
      THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
 10
      The Americans With Disabilities Act Of 1990
 11
      34.   ADA Standing:
 12
            ADA Title III does cover public and common use areas at housing
 13
      developments when these public areas are, by their nature, open to the general
 14
      public. An office providing rental services is open to the general public. (See U.S.
 15
      Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
 16
      Illustration 3, office on or off the site covered). The parking and paths of travel to
 17
      the office on or off the site are also covered. See Section III–1.2000, ADA Title III
 18
      Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
 19
      3: A private residential apartment complex contains a office on or off the site. The
 20
      office on or off the site is a place of public accommodation”). See Kalani v Castle
 21
      Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
 22
      Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
 23
      (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
 24
      present case, the named Plaintiffs have also sufficiently alleged that Defendants
 25
      provide rental services at the property. Following prior sister Circuit Courts of
 26
      Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
 27
      can be only a “tester” and have standing. See Civil Rights Education & Enforcement
 28

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  1
      Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
  2
      Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
  3
      motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
  4
      does not require a Plaintiff to have a personal encounter with the barrier to equal
  5
      access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
  6
      Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
  7
      and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
  8
      1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
  9
      Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
 10
      Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
 11
      present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
 12
      that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
 13
      and regulations as detailed further in the ADA claims stated below. As a result, the
 14
      named Plaintiffs have each suffered injury and each seek only injunctive and
 15
      declaratory relief pursuant to their ADA Claims.
 16
      CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
 17
      35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
 18
      may be necessary to ensure that no individual with a disability is excluded, denied
 19
      services, segregated or otherwise treated differently than other individuals because of
 20
      the absence of auxiliary aids and services, unless the entity can demonstrate that
 21
      taking such steps would fundamentally alter the nature of the good, service, facility,
 22
      privilege, advantage, or accommodation being offered or would result in an undue
 23
      burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
 24
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
 25

 26
      violated said provision. Plaintiffs set forth the factual basis for this claim most

 27
      specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

 28

                       21
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  1
      of public accommodation, not services in a place of public accommodation. To limit
  2
      the ADA to discrimination in the provision of services occurring on the premises of a
  3
      public accommodation would contradict the plain language of the statute.” Nat’l
  4
      Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
  5
      (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
  6
      1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
  7
      provides, it cannot discriminate on the basis of disability in providing enjoyment of
  8
      those goods and services”]). An ADA plaintiff may challenge a business’ online
  9
      offerings as well. So long as there is a “nexus”—that is, “some connection between
 10

 11
      the good or service complained of and an actual physical place”—a plaintiff may

 12
      challenge the digital offerings of an otherwise physical business. See Gorecki v.

 13
      Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:

 14
      CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
 15   communication to the instant Plaintiffs and to people with disabilities. In the
 16   present case, Plaintiffs experienced and have knowledge that Defendants failed to
 17   have a required procedure to provide effective communication. Plaintiffs allege that
 18   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
 19   did not provide any auxiliary aid and the Defendants did not provide any reasonable
 20   accommodation to the overt and obvious communication barriers, and failed to
 21   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
 22   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
 23   ADA law allows the Defendants to decide what auxiliary aid and reasonable
 24   accommodation will be provided. In this case, however, Defendants failed to
 25   provide any reasonable accommodation for the overt and obvious communication
 26   barriers to equal access to their rental services, failed to provide any auxiliary aid,
 27   and failed to provide any effective communication. Plaintiffs allege that Defendants’
 28

                       22
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  1
      websites provide a contact number for the general public, but Defendants failed to
  2
      provide Plaintiffs with the required effective communication using texting or other
  3
      alternate means of communication for Plaintiffs and other people with a deaf
  4
      condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
  5
      Club’s members that have hearing disabilities and Club’s members with speech
  6
      disabilities. Defendants are required to provide, on Defendants’ websites, to provide
  7
      a method to effectively communicate with Plaintiff Club members that have hearing
  8
      and speech disabilities, and other people that are deaf or have speech impairments.
  9
      CLAIM II: Denial of Participation
 10

 11
      36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to

 12
      subject an individual or class of individuals on the basis of a disability or disabilities

 13
      of such individual or class, directly, or through contractual, licensing, or other

 14
      arrangements, to a denial of the opportunity of the individual or class to participate in

 15   or benefit from the goods, services, facilities, privileges, advantages, or
 16   accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
 17   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
 18   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
 19   most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
 20   violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
 21   CLAIM III: Participation in Unequal Benefit
 22   37.   Defendants provide unequal benefit for people with disabilities in violation of
 23   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
 24   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
 25   believe, and thereon allege that Defendants discriminated against Plaintiffs in
 26   violation of said provision. Plaintiffs set forth the factual basis for this claim most
 27   specifically at ¶¶ 20-24 above.
 28

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  1
      CLAIM IV: Separate Benefit
  2
      38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
  3
      United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
  4
      plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  5
      believe, and thereon allege that Defendants discriminated against Plaintiffs in
  6
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
  7
      specifically at ¶¶ 20-24 above.
  8

  9
      CLAIM V: Integrated Settings
 10

 11
      39.   Defendants’ rental services are not integrated for Plaintiffs and people with

 12
      disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §

 13
      12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

 14
      Plaintiffs are informed, believe, and thereon allege that Defendants discriminated

 15   against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
 16   for this claim most specifically at ¶¶ 20-24 above.
 17
      CLAIM VI: Failure To Modify Practices, Policies And Procedures

 18
      40.   Defendants failed and refused to provide a reasonable alternative by

 19
      modifying its practices, policies, and procedures in that they failed to have a scheme,
 20   plan, or design to accommodate Plaintiff Club, its Club members, the individual
 21   named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
 22   services, at its websites and at the Property, in violation of 42 United States Code
 23   12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 24   above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 25   allege that Defendants discriminated against Plaintiffs in violation of said provision.
 26   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
 27   CLAIM VII: Failure To Remove Architectural And Communication Barriers
 28

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  1
      41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
  2
      communication barriers as required in violation of 42 United States Code
  3
      12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
  4
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  5
      allege that Defendants discriminated against the named Individual Plaintiff in
  6
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
  7
      specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
  8
      reviewed all the information and photographs of Defendants’ property. As a result,
  9
      the named Individual Plaintiff has actual knowledge of the physical and
 10
      communication barriers that exist at Defendants’ Property. The named Individual
 11
      Plaintiff determined that the physical barriers that exist at Defendants’ property,
 12
      directly relate to his disabilities, and make it impossible or extremely difficult for
 13
      him to physically access Defendants’ rental services at the Property. The named
 14
      Individual Plaintiff was deterred by his actual knowledge of the physical and
 15
      communication barriers that exist at Defendants’ Property which include but are not
 16
      limited to the barriers to facilities and services for disabled parking, exterior path of
 17
      travel to the rental services at the property, entrance and interior, since said
 18
      Defendants’ facilities and rental services were not accessible because they failed to
 19
      comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
 20
      Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
 21
      Plaintiff had actual knowledge of these barriers and determined that it would be
 22
      futile gesture for him to go to the Property on the date that he had originally
 23
      intended. The named Individual Plaintiff is currently deterred from returning due to
 24
      his knowledge of the barriers. At the end of this action, the named Individual
 25
      Plaintiff intends to return to Defendants’ property or off the site location to obtain
 26
      rental information and verify that the communication and physical barriers to
 27
      Defendants’ rental services are removed. Defendants failure to remove the barriers
 28

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  1
      to equal access constitutes discrimination against the named Individual Plaintiff.
  2
      CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
  3
      42.   Defendants are required to make alterations to their facilities in such a manner
  4
      that, to the maximum extent feasible, the altered portions of the facility are readily
  5
      accessible to and usable by individuals with disabilities, including individuals who
  6
      use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
  7
      26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
  8
      and thereon allege that Defendants violated this provision. Plaintiffs allege that
  9
      Defendants altered their facility in a manner that affects or could affect the usability
 10
      of the facility or a part of the facility after January 26, 1992. In performing the
 11
      alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
 12
      manner that, to the maximum extent feasible, the altered portions of the facility are
 13
      readily accessible to and usable by individuals with disabilities, including individuals
 14
      who use devices, in violation of 42 U.S.C. §12183(a)(2).
 15
      CLAIM IX: Administrative Methods
 16

 17
      43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract

 18
      with website providers without making sure that the websites will be accessible to

 19
      people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42

 20
      U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

 21
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
 22   discriminated against the named Individual Plaintiff in violation of said provision.
 23   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
 24   CLAIM X: Screen Out
 25   44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
 26   out Plaintiffs and other people with disabilities in violation of 42 United States Code
 27   12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 28

                       26
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  1
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  2
      allege that Defendants discriminated against the named Plaintiffs in violation of said
  3
      provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
  4
      - 26 above. Defendants screened out the named Plaintiffs from its rental services and
  5
      processes, because Defendants failed to remove architectural and communication
  6
      barriers to its website and property, failed to provide required effective alternate
  7
      communication methods, and failed to provide required auxiliary aids.
  8

  9
      CLAIM XI: Denial Of Full And Equal Access
 10
      45.   Defendants are required to provide full and equal access to Defendants' rental
 11
      services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
 12
      United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
 13
      8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
 14
      thereon allege that Defendants discriminated against the named Plaintiffs in violation
 15
      of said provision. Plaintiffs set forth the factual basis for this claim most specifically
 16
      at ¶¶ 8 - 26 above.
 17

 18
      CLAIM XII: Failure To Investigate And Maintain Accessible Features
 19

 20
      46.    Defendants made repairs and administrative changes which violated ADA and

 21
      its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible

 22
      features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 23   Defendants failed to provide and then maintain any accessible features in its parking,
 24   path of travel, on or off the property site for rental services and website rental
 25   services. Plaintiffs are informed, believe, and thereon allege that Defendants
 26   discriminated against the named Plaintiffs in violation of this provision.
 27
      ///
 28

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  1
      CLAIM XIII: Association
  2

  3
      47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

  4
      Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  5   against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
  6         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
  7          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
  8   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
  9                                   ACCESSIBILITY LAWS
 10   CLAIM I: Denial Of Full And Equal Access
 11
      48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
 12
      named Individual Plaintiff was denied full and equal access to Defendants' goods.
 13
      services, facilities, privileges, advantages, or accommodations within a public
 14
      accommodation owned, leased, and/or operated by Defendants as required by Civil
 15
      Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
 16
      18-28 above.
 17
      CLAIM II: Failure To Modify Practices, Policies And Procedures
 18
      49.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 19
      the named Individual Plaintiff was denied full and equal access to Defendants' goods.
 20
      Defendants failed and refused to provide a reasonable alternative by modifying its
 21
      practices, policies, and procedures in that they failed to have a scheme, plan, or
 22
      design to assist Plaintiff Members and/or others similarly situated in entering and
 23
      utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
 24
      this claim is at 18-28 above.
 25
      CLAIM III: Violation Of The Unruh Act
 26
      50.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 27
      the individual, the named Individual Plaintiff was denied full and equal access to
 28

                       28
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  1
      Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
  2
      failing to comply with Civil Code §51(f). Defendants' facility violated state
  3
      disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
  4
      Building Code by failing to provide equal access to Defendants’ facilities.
  5
      Defendants did and continue to discriminate against Plaintiff Members in violation
  6
      of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
  7
                 Treble Damages Pursuant To California Accessibility Laws
  8
      51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  9
      only the named Individual Plaintiff prays for an award of treble damages against
 10
      Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
 11
      54.3(a). Defendants, each of them respectively, at times prior to and including the
 12
      day the named Individual Plaintiff attempted patronized Defendants’ facilities and
 13
      rental services, and continuing to the present time, knew that persons with physical
 14
      disabilities were denied their rights of equal access. Despite such knowledge,
 15
      Defendants, and each of them, failed and refused to take steps to comply with the
 16
      applicable access statutes; and despite knowledge of the resulting problems and
 17
      denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
 18
      and each of them, have failed and refused to take action to grant full and equal access
 19
      to the individual Plaintiff in the respects complained of hereinabove. Defendants,
 20
      and each of them, have carried out a course of conduct of refusing to respond to, or
 21
      correct complaints about, denial of disabled access and have refused to comply with
 22
      their legal obligations to make Defendants’ public accommodation facilities and
 23
      rental services accessible pursuant to the ADAAG and Title 24 of the California
 24
      Code of Regulations (also known as the California Building Code). Such actions
 25
      and continuing course of conduct by Defendants in conscious disregard of the rights
 26
      and/or safety of the named Individual Plaintiff justify an award of treble damages
 27
      pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
 28

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  1
                          DEMAND FOR JUDGMENT FOR RELIEF:
  2
      A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
  3
      42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
  4
      pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
  5
      this court to enjoin Defendants to cease their discriminatory practices in housing
  6
      rental services, rental housing management services, and for Defendants to
  7
      implement written policies and methods to respond to reasonable accommodation
  8
      and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
  9
      request this Court enjoin Defendants to remove all barriers to equal access to the
 10
      disabled Plaintiffs in, at, or on their facilities, including but not limited to
 11
      architectural and communicative barriers in the provision of Defendants’ rental
 12
      services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
 13
      Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
 14
      not seek any relief at all pursuant to Cal. Civil Code §55.
 15
      B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
 16
      However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
 17
      damages on behalf of its members;
 18
      C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
 19
      to Cal. Civil Code §§ 52 or 54.3;
 20
      D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
 21
      damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
 22
      51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
 23
      E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
 24
      C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
 25
      damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
 26
      § 54.1;
 27
      F.     All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
 28

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  1
      U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
  2
      G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
  3
      Civil Code §§ 52(a) or 54.3(a);
  4
      H.    The named Plaintiffs are seeking perspective injunctive relief to require the
  5
      Defendants to provide obvious reasonable accommodations, to provide the required
  6
      auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
  7
      Defendants in the provision of Defendants’ rental services. Without perspective
  8
      relief the Plaintiffs will suffer future harm.
  9
      I.    All named Plaintiffs seek a Jury Trial and;
 10
      J.    For such other further relief as the court deems proper.
 11

 12   Respectfully submitted:
 13
                                                       LIGHTNING LAW, APC
 14
      Dated: December 28, 2023
 15
                                               By:     /s/David C. Wakefield
 16                                                    DAVID C. WAKEFIELD, ESQ.
 17
                                                       Attorney for Plaintiffs

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